 Case 2:10-cr-00070   Document 134    Filed 10/03/11   Page 1 of 3 PageID #: 518



                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:10-00070-03

LEVI CARTER


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On September 28, 2011, the United States of America

appeared by Blaire L. Malkin, Assistant United States Attorney, and

the defendant, Levi Carter, appeared in person and by his counsel,

Carl E. Hostler, for a hearing on the petition on supervised release

submitted by United States Probation Officer Joseph Black, the

defendant having commenced a three-year term of supervised release

in this action on February 25, 2011, as more fully set forth in the

Judgment Including Sentence Under the Sentencing Reform Act entered

by the court on January 18, 2011.


           The court heard the admissions of the defendant and the

representations and argument of counsel.


           For reasons noted on the record of this proceeding, which

are ORDERED incorporated herein by reference, the court found that

the defendant has violated the conditions of supervised release in

the following respect:      that the defendant possessed cocaine base

inasmuch as on June 2, 2011, he was found to be in possession of less

than one gram of cocaine base, and again on August 5, 2011, was found

to be in possession of 2.2 grams of cocaine base, both violations of
 Case 2:10-cr-00070   Document 134   Filed 10/03/11   Page 2 of 3 PageID #: 519



federal and state law; all as admitted by the defendant on the record

of the hearing and as set forth in the petition on supervised release.


           And the court finding, as more fully set forth on the record

of the hearing, that the violation warrants revocation of supervised

release and, further, that it would unduly depreciate the seriousness

of the violation if supervised release were not revoked, it is ORDERED

that the supervised release previously imposed upon the defendant in

this action be, and it hereby is, revoked.


           And the court having complied with the requirements of Rule

32(a)(1)(B) and (C) of the Federal Rules of Criminal Procedure, and

finding, on the basis of the original offense, the intervening conduct

of the defendant and after considering the factors set forth in 18

U.S.C. ' 3553(a), that the defendant is in need of correctional

treatment which can most effectively be provided if he is confined,

it is accordingly ORDERED that the defendant be, and he hereby is,

committed to the custody of the United States Bureau of Prisons for

imprisonment for a period of ONE YEAR AND ONE DAY, to be followed by

a term of two (2) years less one day of supervised release upon the

standard conditions of supervised release now in effect in this

district by order entered June 22, 2007, and the further condition

that the defendant not commit another federal, state or local crime

and the condition that the defendant participate in drug abuse

counseling and treatment as directed by the probation officer.




                                     2
 Case 2:10-cr-00070   Document 134   Filed 10/03/11    Page 3 of 3 PageID #: 520



           The defendant was remanded to the custody of the United

States Marshal.


           Recommendation:     The court recommends that the defendant

be designated to an institution as close to Charleston, West Virginia,

as feasible, other than FCI Beckley.


           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the United

States Probation Department, and the United States Marshal.


                                         DATED:       October 3, 2011


                                         John T. Copenhaver, Jr.
                                         United States District Judge




                                     3
